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                                UNITED STATES DISTRICT COURT
                               SOUTH ERN DISTRICT OF FLORIDA
                                 CASE N O.18-20690-CR-UNGARO


  UNITED STATES OF AM Em CA

  VS.

  JENNIFER JOHN CARBON,

         Defendant.
                                     /


                                       FAC TUAI,PR O FFER

         The office ofthe United StatesA ttorney forthe Southern DistrictofFlorida and the

  defendantstipulate to and agreenotto contestthe following facts, and stipulatethatsuch facts,in

  accordancewith Rule 11(b)(3)oftheFederalRulesofCriminalProcedure,provideasufficient
  factualbasis forthe plea ofguilty in thiscase:

         lfthiscase had gone to trialthe governm entw ould haveproved beyond a reasonabledoubt

  thatTRICARE w asa health care insurance program ofthe United StatesDepartm entofDefense.

  TRICA RE provides civilian health benefits for m ilitary personnel,m ilitary retirees,and m ilitary

  dependentsallaround thew orld.

         The governmentwould have proved thatbetween in or around December,2014, and

  continuing through in or around July,2015,the defendantcom bined,conspired, and confederated

  with AsifUddin,(ttUddin''),co-conspiratorl,andothersknowntotheAttorney fortheUnited
  Statesreceive health care kickbacksin violation ofTitle l8,U nited StatesCode, Section 37l.

         SpeciGcally,the governm entw ould have proved thatin oraround Decem ber of2014, the

  defendantwasan ownerofComfortMedicalCenter,L.L.C.(t$CMC''),a Miami-Dade County
  m edicalclinic. The governm entw ould have also proved thataround this sam e tim e period co-
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 conspirator l invited the defendantinto the charged schem e by offering to pay herkickbacks in

 exchangefor:(l)arranging forandprovidingprescriptionstohim forexpensiveand medically
 unnecessarycompounded medicationsforindividualsreferredtoCM C by co-conspirator1,Uddin

 and others known to the Attorney forthe U nited States w ith TRICARE insurance'
                                                                               ,and (2)for
 recruiting and referring TRICA RE insurance beneficiaries' prescriptions for expensive and

 m edically unnecessary com pounded m edications to co-conspirator 1,so thatthe beneficiaries'

 ordersforprescription com pounded m edicationscould be filled by Pharm acies land 2, w hich are

 com pounding pharm acies located in the M iddle D istrict ofFlorida and the W estern District of

 Oklahom a respectively.

        The govem m ent's evidencew ould have proved thatthe defendantin factagreed to arrange

 for and provide m edically unnecessary prescriptionsfor com pounded m edicationsto TRICARE

 beneficiaries thatw ere referred to CM C by co-conspirators in the schem e and that she received

 paym entfrom co-conspirator 1 in exchange fordoing so.A dditionalevidence w ould haveproved

 that the defendant arranged for and provided prescriptions to co-conspirator 1 for TRICA RE

 beneficiaries she personally recruited,and thatin exchange,co-conspirator l paid the defendant

 an am ountequalto 20% ofthe sum paid by TRICA RE to Pharm acies 1 and 2 forcom pounded

 m edicationsdispensed to the recruited beneficiaries.

        The governm entw ould have proved thatthe defendantengaged in a num ber ofovertacts

 in furtherance ofthe charged conspiracy,one ofw hich includes her receipton oraboutJanuary

 29,2015,ofthe approximate sum of $23,940,which she admits,along with alIother monies
 received from co-conspirator 1 constitute unlaw ful health care kickbacks tied to the conduct

 described above.

        AlloftheaboveconductoccurredwithinthejurisdictionoftheSouthernDistrictofFlorida.
                                             RANDY HUM M EL
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                                      ATTORNEY FOR THE UNITED STATES
                                      ACTIN G UNDER AUTHORITY CONFERRED
                                      BY 28U.S.C.j515


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                                      A SS TAM 'IJNITED STATES ARV ORN EY


 Date:    *)                   By'
                                      MA    E    ARSH,ESQ.
                                      ATTORN Y FOR DEFEND ANT


 Date:67 (                      By:
                                      JE     R   H N CARBON
                                      DEF   DA
